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 1    STERN & GOLDBERG
      Alan N. Goldberg, Esq. (SBN 112836)
 2    agoldberg@sgattys.com
      Peter Tran (SBN 280016)
 3    ptran@sgattys.com
      6345 Balboa Boulevard, Suite 200
 4
      Encino, California 91316
 5    Telephone: (818) 758-3940
      Facsimile: (818) 758-3950
 6
      Attorneys for Plaintiff
 7    R.Y.L. Inc., a California corporation

 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10

11    R.Y.L. INC., a California corporation,         Case No. 2:20-cv-05606-RGK-JC
12                       Plaintiff,                  STIPULATION TO EXTEND TIME
                                                     TO RESPOND TO INITIAL
13
      v.                                             COMPLAINT BY NOT MORE THAN
14                                                   30 DAYS (L.R. 8-3); PLAINTIFF'S
      SCIENTIFIC GLASS ART, INC., a California       RESPONSE TO ORDER TO SHOW
15    corporation; JORGE OMAR A VILA                 CAUSE RE: DISMISSAL
      MARTINEZ also known as JORGE A VILA
16    and ANDANTE A VILA, an individual;             Complaint Filed: June 25, 2020
      BARAKAT ZAHRAN also known as                   New response date: August 24, 2020
17    ZAHRAN BARAKAT and HISHAM
      BARAKAT, an individual; and DOES 1
18    through 50, inclusive,
19
                         Defendants.
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                  STIPULATION TO EXTEND TIME TO RESPOND AND RESPONSE TO OSC
                                                 I
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                                                 STIPULATION

 2               Plaintiff R.Y.L. INC. ("Plaintiff') and Defendants SCIENTIFIC GLASS ART, INC.,

 3    JORGE OMAR A VILA MARTINEZ, and BARAKAT ZAHRAN (collectively referred to as

 4    "Defendants") hereby stipulate and agree, by and through their undersigned counsel, as follows:

 5               WHEREAS, Defendants JORGE OMAR A VILA MARTINEZ and SCIENTIFIC

 6    GLASS ART, INC., was served by substituted service on July 4, 2020 and Defendant

 7    BARAKAT ZAHRAN was served by substituted service on July 24, 2020;

 8               WHEREAS, pursuant to applicable Federal and State statutes for service of process, the

 9    date by which Defendants are required to respond to the Complaint was extended by ten (10)

10    days where service is done by substituted service. See, e.g., Fed. R. Civ. Proc. Rule 4(e)(l) and

11     Cal. Civ. Proc. section 415.20(b);

12               WHEREAS, Defendants will all be represented by the same counsel;

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                 WHEREAS, Defendants desire further time to analyze the Complaint and determine
14     appropriate responses;
15
                 WHEREAS, the parties have begun discussing informal resolution of the matters
16
       reflected in the Complaint; and
17
                 WHEREAS, pursuant to Local Rule 8-3, counsel for Plaintiff has stipulated and agreed
18
       to extend the time to respond to Plaintiffs Complaint for all Defendants to August 24, 2020.
19
                 THE PARTIES HEREBY STIPULATE that:
20
          (i)       The time for all Defendants to file any responsive pleadings to Plaintiffs Complaint
21
                    is extended to August 24, 2020, which is not more than 30 days after Defendants'
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                    responsive pleadings would ordinarily be due. No affirmative defenses are waived.
23
          (ii)      All signatories concur in the tiling's content and have authorized the filing.
24
       IT IS SO STIPULATED.
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                     STIPULATION TO EXTEND TIME TO RESPOND AND RESPONSE TO OSC
                                                 2
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                                          Respectfully submitted,
 1

 2
                                          STERN & GOLDBERG
      DATED: August 6, 2020               By:    Isl Alan N. Goldberg
 3                                               Alan N. Goldberg
                                                 Attorneys for Plaintiff
 4                                               R.Y.L. Inc.

 5                                        WANG IP LAW GROUP, P.C.
      DATED: August 6, 2020               By:    Isl Tommy SF Wang
 6                                               Tommy SF Wang
                                                 Attorneys for Defendants
 7                                               Scientific Glass Art, Inc.,
                                                 Jorge Omar Avila Martinez and
 8
                                                 Barakat Zahran
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                STIPULATION TO EXTEND TIME TO RESPOND AND RESPONSE TO OSC
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 I                                    CERTIFICATE OF SERVICE

 2           I hereby certify that on August 6, 2020, I electronically filed the foregoing Unopposed

 3    Motion for Extension of Time and Plaintiffs response to Order to Show Cause with the Clerk

 4    of the Court via the Court's CM/ECF System, which will automatically send notification of

 5    such filing to the individuals registered to receive notices via email transmission with the

 6    Court's ECF System.

 7
                                                            Isl Alan N. Goldberg
 8                                                          Alan N. Goldberg
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                  STIPULATION TO EXTEND TIME TO RESPOND AND RESPONSE TO OSC
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                                       PROOF OF SERVICE
                  STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
2
             I am employed in the County of Los Angeles, State of California. I am over the
3     age of 18 years and not a party to the within action. My business address is 6345 Balboa
      Boulevard, Suite 200, Encino, California 91316.
4
            On August 6, 2020 I served the foregoing document described as:
 5
            STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL
6           COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3); PLAINTIFF'S
            RESPONSE TO ORDER TO SHOW CAUSE RE: DISMISSAL
 7           BY MAIL                  XX      BY ELECTRONIC TRANSMISSION
 8
      XX    by emailing the above document to the following persons:
 9
              Tommy SF Wang, Esq.
              Elle Reed, Esq.
              Wang IP Law Group, P.C.
11            18645 E. Gale Avenue, Suite 205
              City of Industry, California 91748
12
              Email: twang_@thewangiplaw.com
                     ereed(eiJthewang1plaw .com
              Telephone: (026) 269-6753
13            Facsimile: (888) 827-8880
14            (Attorneys for Defendants Scientific
              Glass Art, Inc., Jorge Omar Vila
15            Martinez and Barakat Zahran)
16
             (By mail) I am readily familiar with the firm's practice of collection and
17           processing correspondence for mailing. Under that practice it would be deposited
             with U.S. Postal Service on that same day with postage fully prepaid at Encino,
18           California in the ordinary course of business. I am aware that on motion of the
             party served, service is presumed invalid if postal cancellation date or postage
19           meter date is more than one day after date of deposit for mailing in affidavit.

20     xx     (By e-mail or electronic transmission) I caused the documents to be sent to the
              persons at the e-mail addresses listed above. I did not receive, within a reasonable
              time after the transmission, any electronic message or other indication that the
21            transmission was unsuccessful.
22           Executed on August 6, 2020, in Encino, California.
23     XX (Federal)        I declare that I am employed in the office of a member of the bar of
                           this court at whose direction the service was made.
24
                                                        Isl
25                                                             Valerie Rush


                 STIPULATION TO EXTEND TIME TO RESPOND AND RESPONSE TO OSC
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